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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
February 2007 Grand Jury

ck o7- 07.01048

INDICIHMENT

UNITED STATES OF AMERICA,
Plaintiff,

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)
)
Vv. ) [21 U.S.C. § 846: Conspiracy
) to Possess with Intent to
JAMES LANZO TURNER, IV, ) Distribute and to Distribute
aka “Blue,” ) Heroin; 21 U.S.C.
DAVID COLE, JUR., ) §§ 841 (a) (1), (b) (1) (B):
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)
)

CHARLES LEROY TWYMAN, Possession with Intent to

 

aka “Lee,” Distribute and Distribution of
LASHAWN ANDREA LYNCH, and Heroin]
MIKE LNU,
Defendants.
The Grand Jury charges:
COUNT ONE

[21 U.S.C. § 846]
A. OBJECTS OF THE CONSPIRACY
Beginning on or about January 28, 2006, and continuing to on
or about February 5, 2006, in Los Angeles County, within the
Central District of California, and elsewhere, defendants JAMES
LANZO TURNER, IV, also known as (“aka”) “Blue” (“TURNER”), DAVID

COLE, JR. (“COLE”), CHARLES LEROY TWYMAN, aka “Lee” (“TWYMAN”),

 

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LASHAWN ANDREA LYNCH (“LYNCH”), and MIKE LNU (LAST NAME UNKNOWN) ,
and others known and unknown to the Grand Jury, conspired and
agreed with each other to knowingly and intentionally (a) possess
with intent to distribute and (b) distribute more than 100. grams
of a mixture or substance containing a detectable amount of
heroin, a Schedule I controlled substance, in violation of Title
21, United States Code, Section 841 (a) (1).

B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

The objects of the conspiracy were to be accomplished in
substance as follows:

1. Defendant TURNER, in Memphis, Tennessee, would order
heroin from defendant MIKE LNU in Los Angeles, California, for
distribution by defendant TURNER in Memphis, Tennessee.

2. Defendants COLE and TWYMAN would pick up the heroin
from defendant MIKE LNU and would give the heroin to defendant
LYNCH to transport on her person from Los Angeles, California to
defendant TURNER in Memphis, Tennessee.

Cc. OVERT ACTS

In furtherance of the conspiracy and to accomplish the
objects of the conspiracy, defendants, and others known and
unknown to the Grand Jury, committed various overt acts on or
about the following dates, within the Central District of
California and elsewhere, including but not limited to the
following:

1. Qn January 28, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that

defendant MIKE LNU wanted to give defendant TURNER approximately

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ten ounces of heroin to sell in Memphis, Tennessee.

2. On January 28, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant TURNER would have defendant MIKE LNU package the heroin
like a tampon and then defendant TURNER would have defendant
LYNCH fly to Memphis, Tennessee, with the heroin.

3. On January 28, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant TWYMAN and defendant COLE could help defendant TURNER
by putting defendant LYNCH on a plane.

4. On January 29, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
all defendant COLE had to do was get the approximately ten ounces
of heroin and give it to defendant LYNCH.

5. On January 29, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant MIKE LNU had agreed that defendant TURNER would not
have to pay defendant MIKE LNU for the approximately ten ounces
of heroin until defendant TURNER came back to Los Angeles.

6. On January 29, 2006, in a telephone conversation and
using coded language, defendant TURNER and defendant TWYMAN
discussed purchasing additional heroin directly from defendant
COLE.

7. On January 30, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant MIKE LNU had told defendant COLE to come and get the
approximately ten ounces of heroin.

8. On January 30, 2006, in a telephone conversation and

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using coded language, defendant TURNER told defendant TWYMAN that
defendant TURNER and defendant TWYMAN could make $15,000 to
$30,000 selling heroin in Memphis, Tennessee.

9. On February 3, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant COLE was going to pick up the approximately ten ounces
of heroin that defendant TURNER had ordered from defendant MIKE
LNU and give the heroin to defendant LYNCH, and that defendant
LYNCH was ready and just needed to buy a plane ticket to Memphis,
Tennessee.

10. On February 3, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant COLE had the approximately ten ounces of heroin and
would give the heroin to defendant LYNCH, and that defendant
TURNER needed defendant TWYMAN to help get defendant LYNCH a one-
way plane ticket to Memphis, Tennessee.

11. On or about February 3, 2006, defendant COLE gave
defendant LYNCH approximately 239 grams of heroin to transport on
her person to defendant TURNER in Memphis, Tennessee.

12. On February 4, 2006, in a telephone conversation and
using coded language, defendant TURNER told defendant TWYMAN that
defendant LYNCH already had a plane ticket, and asked defendant
TWYMAN to give defendant LYNCH one hundred dollars for defendant
LYNCH’s pocket and some cocaine for defendant LYNCH’s nerves.

13. On February 4, 2006, defendant TWYMAN gave defendant
LYNCH approximately 2.58 grams of cocaine.

14. On February 5, 2006, at Los Angeles International

Airport, defendant LYNCH carried approximately 239 grams of

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heroin on her person for delivery to defendant TURNER in Memphis,
Tennessee, and approximately 2.58 grams of cocaine in her

handbag.

 
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COUNT TWO
[21 U.S.C. §§ 841(a) (1), (b) (1) (B)]

On or about February 3, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendant
DAVID COLE, JR., knowingly and intentionally distributed
approximately 239 grams of a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance.

 
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COUNT THREE
[21 U.S.C. §§ 841(a) (1), (b) (1) (B)]

On or about February 5, 2006, in Los Angeles County, within
the Central District of California, and elsewhere, defendant
LASHAWN ANDREA LYNCH knowingly and intentionally possessed with
intent to distribute approximately 239 grams of a mixture or
substance containing a detectable amount of heroin, a Schedule I

controlled substance.

A TRUE BILL

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FOREPERSON

GEORGE S. CARDONA
United States Attorney

 

THOMAS P. O’BRIEN
Assistant United States Attorney
Chief, Criminal Division

BONNIE L. HOBBS
Assistant United States Attorney
Violent and Organized Crime Section

 
